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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DXSTRICT OF CALIFORNIA
      United States of America,                                        1 ~       v~~   ~      .7
                                                                                               ~~ ~f
                                                     Plaintiff,
                           v.

                                                                             ADVISEMENT OF
                        j~ C                                            DEFENDANT'S STATUTORY &
                         ~~ ~                                            CONSTITUTIONAL RIGHTS
                                                   Defendant.


    You are in the United States District Court fox the Central District of California because you have been charged
    with a crime against the United States or a violation of probation, supervised release, or pretrial release. The
    Court in~'orms you that you have the following constitutional and :statutory rights in connection with these
    proceedings:
           You have the right to remain silent. Anything you say,sign,or write can be used against you in this or in
    any other case.
            Ifqou have not already received a copy ofthe charges, you will receive a copy today.
             You have the right to hire and be represented by a lawyer of your choosing at each and every stage of
     these proceedings. If yau cannot afford to hire a lawyer, you can apply to the Court to have a lawyer appointed
    to represent you for free from the office of the Federal Public Defender or the Indigent Defense Panel. The
    application for free counsel includes a financial affidavit, which you must sign under penalty of perjury.
                                                                                                               If you
    say something on the form that is nat true or leave out material information, you could be charged with another
    crime,such as perjure or making a false statement.
            If you are not a United States citizen, you may reqnest that the prosecution notify your consular office
    that you have been axxested. Even without such a request,the law may require the prosecuti   on to do so.

               IF YOU ARE 1VIAKING YOUR I1ITITIAL APPEARANCE BEFORE THE COURT
         You have a right to a bail hearing in which the Magistrate Judge will determine whether
released from custody before trial If you disagree with the Magistrate Judge's decision,                you will be
decision to another Judge ofthis Court. You or the prosecutor can request that the bail       you  can  appeal that
another day.                                                                              hearing  be continued   to
        Tf you have been charged by complaint, you are entitled to a preliminary hearing within 14 days
Magistrate Judge orders that you be detained pending trial, or 21 days ifthe Magistrat                        if the
released pending trial. In a preliminary hearing, the prosecution will attempt to e Judge orders that you be
cause to believe That you committed the crime charged in the complaint.              show that there is probable
preliuninary hearing, however, if the prosecution obtains an indictment in pour   You   will not be entitled to a
                                                                                  case
preliminary hearing. (Most often, the prosecutors in the Central District of Californi before the time set for the
grand jury before the tinne setfor the preliminary hearing and,therefore, no           a present their cases to the
                                                                             preliminary hearing is held.)

                            IF Y4U ARE CHARGED TH A VIQLATION OF
                   YOUR CONDITIQNS OF SUPERVIS RELEASE OR PROBATION
       If you are charged with a violation of the terms and c ditions of your supervise
and the Magistrate Judge detains you, you have the right to                             d release or probation
                                                            a pre  ary hearing before a Magistrate judge.
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                                          IF YOU ARE CHARGED IN ANOTHER DISTRICT
                    If you have been arrested on a charge from other district, you are entitled to wait until the prosecution
             produces a copy ofthe warrant authorizing yottx acre .You are also entitled to an identity hearing in which the
            prosecution would have the burden of proving there i robable cause to believe that you are the person named
            in the`charges. If you are charged in a complaint from pother district, you may request to have a preliminary
            hearing held in the charging district. If you are charg with a violation of a term of supervised release ar
            probation imposed in another district, you have a right a preliminary hearing, which may, depending on
            where the.alleged violation occurred, be held either here or' e chazging district.
                    If you want to plead guilty in the Central District o alifornia, you may request to have your case
            transferred to this district. To proceed in this disfirict, the U 'ted States Attorneys for this district and the
            chargiing district must agree to the transfer.

                                             IF YOU ARE APPEARING FOR .ARRA►IGNMENT
                     If you have been charged by indictment or information, pou           be arraigned and may be asked enter
             a not guilty plea today. After your arraignment, your case will be assign d to a District Judge of flue to
             aII further proceedings, unless a Judge has already been assigned.                                          Court for

                      You are entitled to a speedy and public trial by jury. The right to a jur~`trial can be waived.
                      You acre entitled to see and hear the evidence and cross-examine. the
            entitled to the processes of the Court to subpoena witnesses on your behalf tresses against you. You are
            indigent. You do not have to prove your innocence. The prosecution                       'thout cost to you if you are
            beyond a reasonable doubt.                                                       has the   burden to prove your guilt


            ACKNO~+ItLEDGMENT OP DEPENDANT:
            T have read the above Advisement of Rights and understand it. I
            nor doIrequire an interpreter for court proceedings.           do not require a translation of this statement

               Dated:         r ~ _i ~ ~ ~                                               ~—
                                                                                          Signature ofDefen nt
                                                                    ~OP]
              Y have personally heard a translation in the _
                                                                                                        language read to me and
              understand the above Advisement of Rights.

              Dated:
                                                                                          igrrature o   e en nt
           STATEMENT OF THE INTERPRETER:

             Ihave translated this Advisement of Rights to the Defenda
                                                                            nt in the                                  language.
              Dated:
 . v~'•
                                                                                         Signature o Interpreter

~.
                                                                                        PrfntNameo Interpreter

           STATEMENT OF COUNSEL:
     .~     Iam satisfied that the defendant has read this
     ~''    thereof and fihat he/she understands it.       Advisement o            is o'r has e ~ the interpretation

             Dated•        ~ ~ ~ C( f
                                                                                     Signature o A#orney
     •_' CR-10 (06/1s)         ADVISEMENT OF DEPENDANT'S STATUTORY
                                                                           &CONSTITUTIONAL RIGHTS                       PAGE 2 OF 2
